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                                             May 9, 2025

VIA ECF
Hon. Valerie E. Caproni
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Alexander, Docket No. 24-CR-00676 (VEC)

Dear Judge Caproni:

        On behalf of Tal Alexander, Oren Alexander, and Alon Alexander (the “Defendants”), we
respectfully submit this request to withdraw our May 5, 2025 request for a conference regarding
scheduling. See ECF No. 60. In addition, the Defendants and the Government jointly request an
order entering the proposed modified schedule outlined below.

       On May 8, 2025, after we submitted the above-mentioned request for a conference, the
Government filed a second superseding indictment. ECF No. 63. This indictment adds six
additional counts, including counts related to four additional alleged victims not named in the prior
indictment. With the second superseding indictment now filed, we share in the Court’s initial view
and the Government’s position that a conference is not necessary. Nonetheless, given the
expansion of the charges, and defense pretrial motions due in less than two weeks, the Defendants
and the Government request a modification of the current scheduling order (see ECF No. 53) as
follows.

       Pretrial Motions
           • Defendants’ pretrial motions due by June 16, 2025 (currently May 20, 2025)
           • Government’s response due by July 18, 2025 (currently June 20, 2025)
           • Defendants’ reply due by August 1, 2025 (currently June 27, 2025)

       Expert Submissions
          • Government’s expert disclosure due by August 15, 2025 (currently June 13, 2025)
          • Defendants’ expert disclosure due by August 29, 2025 (currently June 27, 2025)
          • Government’s rebuttal expert disclosure due by September 5, 2025 (currently July
              3, 2025)
          • Parties to notify the Court of any Daubert motions by September 20, 2025
              (currently July 18, 2025)

       Motions in Limine and Requests to Charge
         • Parties’ motions in limine and requests to charge due by October 3, 2025 (currently
             September 5, 2025)
         • Responses to motions in limine due by October 27, 2025 (currently September 19,
             2025)
        Finally, we have conferred with the Government regarding scheduling an arraignment on
the recent indictment. The defense requests the afternoon of June 10, 2025, if amenable to the
Court, as counsel for Alon and Oren Alexander, who are based in Florida, will be in New York for
an argument that morning in the Second Circuit on the bail appeal in this matter. The Government
is also available on that date. Thank you for your consideration.


                                           Respectfully submitted,

                                           /s/ Milton L. Williams
                                            Milton L. Williams
                                            Deanna M. Paul
                                            Alexander Kahn
                                            Attorneys for Defendant Tal Alexander


                                           /s/ Howard Srebnick
                                            Howard Srebnick
                                            Jason Goldman
                                            Attorneys for Defendant Alon Alexander


                                           /s/ Richard Klugh
                                            Richard Klugh
                                            Attorney for Defendant Oren Alexander



cc:    All counsel via ECF




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